          Case 2:16-cv-03799-DJH Document 44 Filed 07/25/17 Page 1 of 3


 1   DANIEL SHANLEY (021322)
     Email Address: dshanley@deconsel.com
 2   THOMAS DAVIS, admitted pro hac vice
     Email Address: tdavis(a1deconsel.com
 3   DeCARLO & SHANLEY,
     a Professional Corporation
 4   533 S. Fremont Avenue, Ninth Floor
     Los Angeles,.( California 90071-1 706
 5   Telephone (L13) 488-4100
     Telecopier (213) 488-4180
 6
     ATTORNEYS FOR DEFENDANTS, CARPENTERS SOUTHWEST
 7   ADMINISTRATIVE CORPORATION and BOARD OF TRUSTEES
     FOR THE CARPENTERS SOUTHWEST TRUSTS
 8

 9                           UNITED STATES DISTRICT COURT
10                                     DISTRICT OF ARIZONA
11

12   HKB, INC., an Arizona COIIJ_Qration,         No. 2:16-cv-03799-DJH
     doing_business as SOUTHWEST                  No. 2: 17-cv-00 198
13   INDUSTRIAL RIGGING,

14                        Plaintiff,
                                                  PENDING MOTION NOTIFICATION
15   v.
16   BOARD OF TRUSTEES FOR THE
     CARPENTERS SOUTHWEST
17   TRUSTS). erroneously sued as BOARD
     OF TRU~TEES FOR THE
18   SOUTHWEST CARPENTER'S
     SOUTHWEST TRUST; et al
19                        Defendants.
20   CARPENTERS SOUTHWEST
     ADMINISTRATIVE CORPORATION
21   a California non-profit corporation; et ai

22                        Plaintiffs,

23   v.
     H K B Inc., et al
24
                          Defendants.
25

26           Pursuant to LRCiv 7 .2(n), Defendants, BOARD OF TRUSTEES FOR THE
27   CARPENTERS SOUTHWEST TRUSTS, erroneously sued as BOARD OF
28   TRUSTEES FOR THE SOUTHWEST CARPENTER'S SOUTHWEST TRUST,
      Case 2:16-cv-03799-DJH Document 44 Filed 07/25/17 Page 2 of 3


 1   and CARPENTERS SOUTHWEST ADMINISTRATIVE CORPORATION,
 2   provide notification that their Motion to Dismiss for Failure to State a Claim (Doc.
 3   No. 14) was filed on November 22, 2016 and has been pending for more than one
 4   hundred and eighty (180) days.
 5
 6
 7   Dated: July 2~ , 2017                 DeCARLO & SHANLEY,
                                           a Professional Corporation
 8

 9                                         By:  azt_ f)___
                                              THOMAS DAVIS
10                                         Attorney~
                                                   for Defendants,
                                           CARPENTERS SOUTHWEST
11                                         ADMINISTRATIVE CORPORATION
                                           and BOARD OF TRUSTEES FOR THE
12                                         CARPENTERSSOUTHWESTTRUSTS
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                              2
            Case 2:16-cv-03799-DJH Document 44 Filed 07/25/17 Page 3 of 3

                             CERTIFICATE OF SERVICE

                      (H K B, Inc., etc., v. Board of Trustees, etc.)
                     (USDC-Arizona Case No. 2:16-cv-03799DJH)


X   I hereby certify that on July 25, 2017, I electronically transmitted the attached document,
    PENDING MOTION NOTIFICATION, to the Clerk's Office using the CM/ECF
    System for filing and transmittal of a Notice of Electronic Filing to the following
    CM/ECF registrants:

          James Edward Holland, Jr. - jholland@stinson.com,cbarajas@stinson.com
          Javier Torres- javier.torres@stinson.com,cynthia.fischer@stinson.com


                 Executed on July 25, 2017, at Los Angeles, California.


X   I declare that I am employed in the office of a member of the bar of this court at whose
    direction the service was made.



                                           Lucy J     ure-Pasco, Secretary
                                           DeCARLO & SHANLEY,
                                           a Professional Corporation
                                           533 S. Fremont Avenue, Ninth Floor
                                           Los Angeles, California 900710
                                           Telephone (213) 488-4100
                                           Telecopier (213) 488-4180
